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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA


     UNITED STATES OF AMERICA               CASE NO: 08-60183-CR-ZLOCH

            v.

     MELANIE PREDERGAST,
     ___________________________/

      MOTION TO COMPEL EARLY DISCLOSURE OF EXPERTS AND
                     EXPERT TESTIMONY

           COMES NOW the Defendant, MELANIE PREDERGAST by and

     through the undersigned attorney and moves this Honorable Court for an

     Order compelling the Government to immediately disclose any and all

     potential expert witnesses to be proffered and presented by the United States

     Government in the trial of the instant matter. There have been no experts

     disclosed by the Government to this point, but the Defense anticipates such

     witnesses will be called by the Government based upon the nature of the

     allegations made and the charges brought.

           The defense must be aware of any other potential or possible expert

     witnesses and related expert testimony which may be proffered mid-trial by

     the Government in this case.

           This request includes but is not limited to the following:

           1.    The names, addresses and occupations of any proffered expert
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     witnesses;

           2.     The background field of expertise, training, experience and

     general predicate for a potential expert opinion testimony;

           3.     Prior courtroom experience, specifically whether or not

     witnesses have been previously designated as expert in a court proceeding

     and consequently whether or not any such witness has been allowed to give

     expert testimony;

           4.     The exact field of expertise for each witness;

           5.     A brief summary of the nature of the expert testimony to be

     proffered by the Government for each and every expert witness disclosed;

           6.     Copies of any written opinions, reports, analysis or related

     documents;

           7.     Copies of a list of predicate documents, reports, learned papers

     or treatises and other documents, writings, reports, etc. used as a basis for

     the proffered expert testimony.

           Of course, the Court is also requested to order the Government,

     consistent with earlier discovery orders (and ongoing obligations of the

     Government) to disclose any negative aspects of the proffered expert or the

     tendered expert testimony i.e. the rejection of the witnesses as expert

     witnesses in earlier court proceedings, the withdrawal or change of earlier
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     expert testimony; any sanctions or actions taken against the witness

     regarding the witness’s field of expertise i.e. disciplinary action, revocation

     of license, permit, qualifying documentation, etc. This information would

     be required in any full and fair disclosure to the defense.

            Similarly, the Government must be reminded of the Government’s

     specific duties under Brady, and Giglio and as an example, the Government

     would be obliged to disclose such information which would tend to

     disqualify such expert or lessen the impact of such expert, including but not

     limited to the fact that the tendered expert opinion or testimony would be in

     contradiction to other recognized experts in the field, that the proffered

     testimony would be in minority position in the proffered field of expertise,

     that the expert opinion or testimony would be a novel and/or unique opinion

     in the field of expertise, etc.

            Finally, this Court is requested to order the Government to disclose

     whether or not the expert or, more correctly the field of expertise tendered

     by the Government would be a field which is not readily acknowledged or

     acceptable in the scientific community, that is, whether the field of expertise

     is one which could be considered novel or in dispute (such as the field of

     polygraphy) – allowing the defense sufficient notice to put forth proper

     motions or objections.
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                  I HEREBY CERTIFY that a copy of the foregoing has been
     furnished by e-mail/electronic filing to AUSA Jennifer A. Keene at
     Jennifer.Keene@USDOJ.gov at the U.S. Attorney’s Office, on this 19th day
     of August, 2008.


                                              _s/ Michael D. Gelety____________
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